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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          BERNADEAN RITTMAN, et al.,                        CASE NO. C16-1554-JCC
10
                                   Plaintiffs,                ORDER CONSOLIDATING
11                                                            CASES
                   v.
12
            AMAZON.COM INC., et al.,
13
                                   Defendants.
14

15          This matter comes before the Court on the parties’ stipulated motion for consolidation

16 pursuant to Federal Rule of Civil Procedure 42(b) and Local Civil Rule 42 (Dkt. No. 86). The

17 motion is GRANTED. The Clerk is DIRECTED to consolidate case number C17-1438-JCC into

18 case number C16-1554-JCC. All future pleadings shall bear the case number C16-1554-JCC.

19          Pursuant to the Court’s order dated March 22, 2017 (Dkt. No. 77), the case will remain

20 stayed until such time as the parties inform the Court that the Supreme Court has rendered its

21 decision in Epic Systems Corp. v. Lewis (U.S. Jan. 13, 2017) (No. 16-285) or, following a Ninth

22 Circuit decision in Van Dusen v. Swift Transp. Co., No. 17-15102 (9th Cir. Jan. 20, 2017),

23 Plaintiffs renew their argument that they are exempt from the Federal Arbitration Act and,

24 therefore, would not be affected by Epic. The stay applies to all claims in this matter, including

25 those brought under the California Private Attorney General Act, Cal. Lab Code § 2699.

26 Defendants’ deadline to respond to the complaint for the case previously assigned case number


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 1 C17-1438-JCC (Iain Mack v. Amazon.com Inc.) will be fourteen (14) days after the stay is lifted.

 2         DATED this 14th day of November 2017.

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                                                       A
                                                       John C. Coughenour
 9                                                     UNITED STATES DISTRICT JUDGE

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     C16-1554-JCC
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